      Case 3:16-md-02741-VC Document 3750 Filed 05/14/19 Page 1 of 4




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13   Attorneys for Defendant
     MONSANTO COMPANY
14

15                                UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
17                                                  )
     IN RE: ROUNDUP PRODUCTS                        ) MDL No. 2741
18   LIABILITY LITIGATION                           )
                                                    ) Case No. 3:19-cv-02224-VC
19                                                  )
                                                    ) STIPULATION AND PROPOSED ORDER
20   This document relates to:                      ) REGARDING EXTENSION OF TIME
                                                    ) FOR MONSANTO COMPANY’S
21   Ramirez v. Monsanto Co.,                       )
     Case No. 3:19-cv-02224-VC                      ) RESPONSIVE PLEADING TO
22                                                  ) PLAINTIFFS’ PUTATIVE CLASS
                                                    ) ACTION COMPLAINT
23

24          Plaintiffs in the above-captioned lawsuit and defendant Monsanto Company

25   (“Monsanto”) hereby stipulate as follows and request entry of the proposed order set forth below:

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       STIPULATION & PROPOSED ORDER RE EXTENSION FOR MONSANTO’S RESPONSIVE PLEADING
                           DEADLINE (3:16-cv-02741-VC; 3:19-cv-02224-VC)
      Case 3:16-md-02741-VC Document 3750 Filed 05/14/19 Page 2 of 4




 1                                              RECITALS
 2          WHEREAS, on April 24, 2019, Plaintiffs in the above-captioned case filed a putative
 3   class action Complaint against Monsanto in the Northern District of California and the case was
 4   assigned to Magistrate Judge Donna M. Ryu;
 5          WHEREAS, on April 25, 2019, the case was reassigned to District Court Judge Vince
 6   Chhabria in the Northern District of California and on April 29, 2019, joined the multidistrict
 7   case In re: Roundup Products Liability Litigation (MDL No. 2741);
 8          WHEREAS, Monsanto was served with Plaintiffs’ Complaint on May 3, 2019;
 9          WHEREAS, Monsanto intends to file a responsive pleading in the above-captioned case;
10          WHEREAS Plaintiffs and Monsanto have agreed (subject to the Court’s approval) to an
11   extension of thirty days from May 24, 2019 to June 24, 2019 for Monsanto to file its responsive
12   pleading in the above-captioned case;
13          WHEREAS, as set forth in the accompanying Declaration of Heather A. Pigman, there
14   have been no prior time modifications in this lawsuit and the change would not alter the date of
15   any event or any deadline already fixed by Court order;
16          WHEREAS, Plaintiffs and Monsanto hereby request that the Court enter the proposed
17   order set forth below.
18                                           STIPULATION
19          THEREFORE, Plaintiffs and Monsanto stipulate to a thirty-day extension of time – from
20   May 24, 2019 to June 24, 2019 – for Monsanto to file its responsive pleading to the Complaint.
21   DATED: May 13, 2019
22                                               /s/ _Eric G. Lasker_____
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                           DEADLINE (3:16-cv-02741-VC; 3:19-cv-02224-VC)
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17                                     /s/ William M. Audet_____
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     STIPULATION & PROPOSED ORDER RE EXTENSION FOR MONSANTO’S RESPONSIVE PLEADING
                         DEADLINE (3:16-cv-02741-VC; 3:19-cv-02224-VC)
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                                  UNITED STATES DISTRICT COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
15
                                                     )
16   IN RE: ROUNDUP PRODUCTS                         ) MDL No. 2741
     LIABILITY LITIGATION                            )
17                                                   ) Case No. 3:19-cv-02224-VC
                                                     )
18                                                   ) [PROPOSED] ORDER
     This document relates to:                       ) REGARDING EXTENSION OF TIME
19                                                   ) FOR MONSANTO COMPANY’S
     Ramirez v. Monsanto Co.,                        ) RESPONSIVE PLEADING TO
20   Case No. 3:19-cv-02224-VC                       ) PLAINTIFFS’ PUTATIVE CLASS
                                                     ) ACTION COMPLAINT
21                                                   )
22
                                         [PROPOSED] ORDER
23
            Pursuant to the Stipulation set forth above, it is hereby ordered that Monsanto Company’s
24
     deadline for filing its responsive pleading in the above-captioned case is extended from May 24
25
     to June 24, 2019.
26
            May 14
     DATE: _____________ 2019                            ___________________________________
27                                                       VINCE CHHABRIA
                                                         United States District Judge
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       STIPULATION & PROPOSED ORDER RE EXTENSION FOR MONSANTO’S RESPONSIVE PLEADING
                           DEADLINE (3:16-cv-02741-VC; 3:19-cv-02224-VC)
